                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                Case No. 08-CR-161

ANTHONY FISHER
                     Defendant.


                                   DECISION AND ORDER

       Defendant Anthony Fisher, charged with conspiracy to distribute controlled substances

and use of a communication facility to facilitate drug distribution, moved to suppress evidence

gathered pursuant to a Title III intercept, arguing that government agents failed to “minimize”

as required by 18 U.S.C. § 2518(5). The magistrate judge handling pre-trial matters in this

case held a hearing on the motion, then issued a recommendation that it be denied. Defendant

objects, requiring me to review the matter de novo. Fed. R. Crim. P. 59(b)(3).1

       Under § 2518(5), agents must execute a Title III order “in such a way as to minimize the

interception of communications not otherwise subject to interception.” The Title III order in this

case contains a minimization provision, which required the agents to minimize interception of

communications not relevant to the investigation, spot checking to insure that the conversation

had not turned to criminal matters; the assigned AUSA provided minimization instructions to

the monitors; and at the hearing DEA Special Agent Lou Rossi testified that agents minimized

calls after determining that they were non-pertinent or not otherwise subject to monitoring,

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       Defendant filed various other, non-dispositive motions, which the magistrate judge
denied. Defendant does not seek review of those orders. Nor does he seek review of the
magistrate judge’s determination on the necessity of the wiretap.


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periodically spot checking for pertinence. In his objections, defendant nevertheless argues that

the procedure utilized – monitoring every call, from start to finish, subject only to spot checking

– violated the statute, the order and the AUSA’s instructions.

       A court assessing the sufficiency of the government’s minimization efforts must decide

whether the steps that agents took to minimize the interception of communications unrelated

to the investigation were objectively reasonable under the circumstances. United States v.

Mansoori, 304 F.3d 635, 647 (7th Cir. 2002). Relevant considerations include the nature of the

criminal enterprise under investigation, the thoroughness of the government’s efforts to ensure

that non-pertinent calls will be minimized, and the use of code. Id. Where the investigation

involves a drug ring of unknown proportions, the need to allow latitude to the agents is close

to its zenith. Id. Courts have generally held that a period of two to three minutes is a

reasonable period of time within which to make an initial judgment as to the pertinence of a

conversation, and that periodic spot-checking of minimized conversations to determine whether

they have turned to drug-related matters is also reasonable. Id. at 647-48 (collecting cases);

see also United States v. Dumes, 313 F.3d 372, 380 (7th Cir. 2002) (citing United States v.

Malekzadeh, 855 F.2d 1492 (11th Cir. 1988); United States v. Apodaca, 820 F.2d 348 (10th

Cir. 1987)); United States v. Lamantia, No. 93 CR 523, 1996 WL 559950, at *13 (N.D. Ill. Sept.

30, 1996) (“Courts have generally concluded that calls less than two or three minutes in

duration are too short to minimize.”).

       The reviewing court should proceed in a realistic, commonsense fashion and not blindly

rely on the percentage of non-pertinent calls intercepted. Dumes, 313 F.3d at 380 (citing Scott

v. United States, 436 U.S. 128, 140 (1978)). In other words, the adequacy of the government’s

minimization efforts typically cannot be determined in a generalized fashion. Mansoori, 304

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F.3d at 648 (citing Scott, 436 U.S. at 140-41). In Mansoori, the Seventh Circuit held that a

defendant challenging the government’s minimization should provide a sampling of the

intercepted calls demonstrating that the agents performed spot checks at intervals that were

too frequent, or that they listened for too long when they made those checks. Id. The court

further stated that the appropriate relief for a minimization failure is generally to suppress any

conversation inappropriately monitored; wholesale suppression of all intercepted conversations

is reserved for the “particularly horrendous case.” Id.; see also United States v. Mullen, 451

F. Supp. 2d 509, 538 (W.D.N.Y. 2006) (stating that “suppression of all communications

intercepted pursuant to any of the challenged Intercept Orders is not the proper remedy absent

a ‘pervasive disregard of the minimization requirement’”) (quoting United States v. Cirillo, 499

F.2d 872, 881 n. 7 (2d Cir. 1974)); United States v. Dorfman, 542 F. Supp. 345, 391 (N.D. Ill.

1982) (“It is not enough for the defendants to identify particular calls which they contend should

not have been intercepted; they must establish a pattern of interception of innocent

conversations which developed over the period of the wiretap.”).

       Before the magistrate judge, defendant presented a list of calls he believed indicative

of a failure to minimize. The magistrate judge analyzed those calls and concluded that all but

one had been properly minimized and spot checked. He doubted that the agents properly

minimized one of the calls, but found that this specific failure to minimize was not indicative of

any systemic failure to minimize.       Defendant does not in his objections contest this

determination. The wholesale suppression defendant seeks is reserved for the “particularly

horrendous case,” and as the magistrate judge properly found, this is not such a case.

       In his objections, defendant makes the sort of generalized challenge the Seventh Circuit

rejected in Mansoori. Like the Mansoori court, I cannot find the government’s overall approach

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insufficient. As Special Agent Rossi testified, this case involved the investigation of a drug

trafficking organization of unknown scope whose members used code words. Thus, agents

could not be expected to make snap judgments as to whether a call was pertinent, particularly

early on in the investigation.2 A caller referring to “shirts” might mean the article of clothing, or

he might mean drugs; the agents needed to listen on to determine the context. It was therefore

reasonable for agents to listen for roughly two minutes, minimize for a period of time, then spot

check and listen for another two minutes.3

       Defendant cites no authority for the proposition that once agents determined a call was

non-pertinent they were required to terminate all monitoring, and I have found none. See, e.g.,

United States v. Losing, 539 F.2d 1174, 1180 (8th Cir. 1976) (stating that “interception of

innocent conversations need not be totally eliminated, and spot-checking of innocent

conversations is permissible”); United States v. Sorapuru, 902 F. Supp. 1322, 1330 (D.

Colo.1995) (“Intermittent spot-checking of minimized calls is a reasonable permissible

technique to monitor calls that may at the outset appear to involve purely personal matters but

later turn out to be drug related.”), aff’d, 120 F.3d 271 (10th Cir. 1997); United States v.

Costello, 610 F. Supp. 1450, 1477 (N.D. Ill. 1985) (“Section 2518(5) permits the government

to ‘spot check’ even innocent conversations to determine whether the subject of the

conversation has shifted.”), aff’d, 830 F.2d 195 (7th Cir. 1987). Indeed, the order in this case



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       The particular call the magistrate judge found troublesome occurred on the second day
of monitoring.
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        Special Agent Rossi testified that during the period of minimization agents could not
hear the audio and the call was not recorded. (Evid. Hr’g Tr. at 37-38.) Thus, although calls
may have been subject to monitoring from “beginning to end” as defendant claims, the record
is clear that during the period of minimization no eavesdropping occurred.

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required agents to spot check to insure that the conversation had not turned to criminal

matters. See Mansoori, 304 F.3d at 645-46 (upholding nearly identical spot check provision).

       THEREFORE, IT IS ORDERED that the magistrate judge’s recommendation is adopted,

and defendant’s motion to suppress is DENIED.4

       Dated at Milwaukee, Wisconsin, this 20th day of March, 2009.

                                          /s Lynn Adelman
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                                          LYNN ADELMAN
                                          District Judge




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         Some courts follow a two-step procedure for deciding motions to suppress based on
failure to minimize. Under this procedure, the government must first make a prima facie
showing of compliance with § 2518(5). Once a prima facie showing is made, the burden shifts
to the defendant to show that, despite good faith compliance with the minimization
requirements, substantial unreasonable interception of non-pertinent conversations occurred,
warranting suppression of the evidence. See, e.g., United States v. Funderburk, 492 F. Supp.
2d 223, 245-46 (W.D.N.Y. 2007). In the present case, the government through Special Agent
Rossi’s testimony and the exhibits admitted at the hearing made a prima facie showing that the
monitors attempted in good faith to minimize as required by statute and the order. As
discussed in the text, defendant failed to meet his burden of identifying specific calls showing
that a substantial number of non-pertinent conversations were intercepted.

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